                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                      )       EDGAR/CARTER
                                              )
v.                                            )       CASE NO. 1:07-CR-137
                                              )
JUAN RUIZ-NUNEZ                               )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 5, 2008.

At the hearing, defendant entered a plea of guilty to Count One, to the extent it charges

conspiracy to distribute 500 grams or more of methamphetamine in violation of 841(a)(1) and

(b)(1)(A) and 846, in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One, to the extent it

charges conspiracy to distribute 500 grams or more of methamphetamine in violation of

841(a)(1) and (b)(1)(A) and 846, be accepted, that the Court adjudicate defendant guilty of the

charges set forth in Count One of the Indictment, and that the written plea agreement be accepted

at the time of sentencing. I further recommend that defendant remain in custody until sentencing

in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement,

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and imposition of sentence are specifically reserved for the district judge.

       The defendant’s sentencing date is scheduled for Monday, July 14, 2008, at 9:30 am.



       Dated: March 5, 2008                           s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten days after the plea
hearing. Failure to file objections within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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